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1     Marc Wolstenholme
      5 Shetland Close
2
      Coventry, England CV5 7LS
3     Telephone: 044 7827964404
      Email: marc@mwwolf-fiction.co.uk
4     Plaintiff in Pro Per
5                                   UNITED STATES DISTRICT COURT
6
                                   CENTRAL DISTRICT OF CALIFORNIA
7

8

9     MARC WOLSTENHOLME,                             CASE NO. 2:25-CV-00053-FMO-BFM HON.
                Plaintiff,
10    vs.                                            Hon. Fernando M. Olguin
      RIOT GAMES, INC.,
11              Defendant                            DECLARATION OF MARC
12                                                   WOLSTENHOLME

13                                                   PLAINTIFF'S OPPOSITION TO
                                                     DEFENDANT RIOT GAMES, INC.'S
14                                                   MOTION TO DISMISS THE SECOND
                                                     AMENDED COMPLAINT (SAC)
15
      Dated this: April 06, 2025
16

17                                                 [MARC WOLSTENHOLME]
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                                                 1
       PLAINTIFF'S OPPOSITION TO DEFENDANT RIOT GAMES, INC.'S MOTION TO DISMISS THE SECOND
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1                     TO THE HONORABLE COURT:
2
                      Plaintiff Marc Wolstenholme respectfully submits this Opposition to Defendant
3
      Riot Games, Inc.'s Motion to Dismiss the Second Amended Complaint ("SAC").
4

5

6                     I. INTRODUCTION

7                     Defendant Riot Games' Motion to Dismiss is a textbook example of abusive
8
      litigation tactics aimed at overwhelming a disabled pro se litigant, rather than engaging with the
9
      merits of the case. Their motion recycles previously addressed arguments, distorts the applicable
10
      legal standards, and seeks to prematurely end a case that must be determined on the merits before
11

12    a jury. The same issues have been addressed numerous times over. This is forcing the Plaintiff to

13    respond, then blaming the Plaintiff for clogging up the docket. The Plaintiff has already raised
14
      concerns over this tit-for-tat elevation of cost, time, and resources. It isn’t a legal argument, its
15
      harassment designed to cause harm, which supports the Plaintiff’s Intentional infliction of
16
      emotional distress (IIED) tort case.
17

18

19                    Stating that a complaint is lengthy because of so much evidence, is like saying the
20
      Gender Discrimination Class Action against Riot isn’t fair because they abused so many women.
21
      In the same manner, The SAC is overinclusive only because it had to be. Riot's alleged
22
      infringement was not isolated or speculative; it was broad, deliberate, and systematic. Riot has
23

24    consistently attempted to dismiss and delay rather than produce evidence or engage in

25    meaningful discovery. This motion must be denied, and discovery must proceed.
26

27
                                                        2
       PLAINTIFF'S OPPOSITION TO DEFENDANT RIOT GAMES, INC.'S MOTION TO DISMISS THE SECOND
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1                     II. LEGAL STANDARD
2

3
                      Under Rule 8 of the Federal Rules of Civil Procedure, a complaint need only
4
      provide a "short and plain statement of the claim showing that the pleader is entitled to relief."
5

6     The Ninth Circuit has emphasized that courts must construe pleadings filed by pro se litigants

7     liberally and that cases should be resolved on the merits where possible.
8

9
                      To survive a motion to dismiss under Rule 12(b)(6), a complaint must merely
10
      state a claim that is plausible on its face. It is not the court’s role to weigh facts or resolve
11

12    disputes at this stage.

13

14
                      III. PLAINTIFF'S SAC SATISFIES RULE 8 AND RULE 12(b)(6)
15

16
                      The SAC Clearly States a Claim Under Copyright Law
17

18                    The SAC alleges the unauthorized reproduction, adaptation, and public

19    performance of Plaintiff's original copyrighted manuscript "Bloodborg: The Harvest" through the
20
      audiovisual medium "Arcane."
21

22
                      The SAC outlines multiple specific, highly detailed and striking similarities
23

24    between Plaintiff’s work and the allegedly infringing work. These are not generic tropes. They

25    include:
26

27
                                                         3
       PLAINTIFF'S OPPOSITION TO DEFENDANT RIOT GAMES, INC.'S MOTION TO DISMISS THE SECOND
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1

2
                     Identical character arcs, visual imagery, and sequence of events;
3

4
                     Parallels in location structure, emotional beats, and unique psychological motifs;
5

6

7                    Unique phrasing, dialogue, and symbolic reference points;
8

9
                     Psychological frameworks unique to the Plaintiff's trauma-informed narrative;
10

11

12                   Foreshadowing structures, mirrored plotlines, character weaponry, and more.

13

14
                     Access Is Plausibly Alleged
15

16
                     The SAC does not make speculative claims. It presents specific pathways through
17

18    which Riot gained access to the Plaintiff’s protected material. These include:

19

20
                     Named agents and agencies (UTA, Curtis Brown Group, Jonny Geller, Felicity
21
      Blunt, Riot Forge);
22

23

24                   Dated submissions, email records, and overlapping personnel;

25

26

27
                                                      4
       PLAINTIFF'S OPPOSITION TO DEFENDANT RIOT GAMES, INC.'S MOTION TO DISMISS THE SECOND
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1                  Direct access to Plaintiff’s submitted manuscripts;
2

3
                   Circumstantial evidence strongly supporting access through industry connections.
4

5

6                  The SAC Is Structured and Comprehensible

7

8
                   The SAC is detailed, yes—because it needed to be. But it is not confusing. It
9
      contains:
10

11

12                 A structured introduction;

13

14
                   Section-by-section breakdowns by episode, theme, character, and violation;
15

16
                   Numbered exhibits and allegations;
17

18

19                 Logical layout and citations that fulfill both FRCP 8 and 10.
20

21
                   The SAC is only 42 pages, the rest is exhibits and evidence.
22

23

24

25

26

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                                                    5
       PLAINTIFF'S OPPOSITION TO DEFENDANT RIOT GAMES, INC.'S MOTION TO DISMISS THE SECOND
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1                     IV. DEFENDANT’S BAD FAITH TACTICS SHOULD NOT BE
2
      REWARDED
3
                      Riot has delayed production of discovery, threatened repeated procedural
4
      dismissals, lied many times over, ignored multiple settlement opportunities, and tried to bifurcate
5

6     issues simply to drain Plaintiff’s limited resources. This pattern is not just unethical; it’s repeated

7     strategic abuse against a vulnerable litigant.
8

9
                      Moreover, Plaintiff has already served discovery requests, participated in Rule
10
      26(f), and complied with every court order in good faith. Riot has not responded to discovery and
11

12    now attempts to shut the case down before evidence comes to light. Yet again, under the same

13    issues already addressed.
14

15
                      The Plaintiff believes that Riot’s tactics hint at an underlaying pathology to their
16
      business practices and that it is in the public interest and in the interest of wider international
17

18    security that full and public discovery litigations are held with the aid of governing bodies. The

19    Plaintiff asserts that healthy and honest companies do not have so many concerns, or so many
20
      complaints. With such dishonest and abusive legal tactics, Riot cannot be trusted to not
21
      manipulate the evidence or to destroy it entirely. The parties have been involved in litigation and
22
      pre-litigation exchanges for almost 3.5 years, and yet Riot has not produced one piece of
23

24    evidence and has manipulated and elevated proceedings at every opportunity.

25

26

27
                                                        6
       PLAINTIFF'S OPPOSITION TO DEFENDANT RIOT GAMES, INC.'S MOTION TO DISMISS THE SECOND
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1                    VI. RIOT’S THREATENED MOTIONS ARE PROCEDURALLY
2
      ABUSIVE AND HAVE ALREADY BEEN ADDRESSED
3

4
                     Despite Plaintiff’s express willingness to prioritize settlement—evidenced in a
5

6     detailed April 4, 2025 email proposing a stipulation to extend Riot’s SAC response deadline in

7     exchange for a timely, good-faith settlement response—Riot responded not with dialogue, but
8
      with aggressive procedural filings: the Motion to Dismiss (Dkt 80), the improper unilateral Rule
9
      26(f) Statement (Dkt 81), and a reply that sidesteps the issue entirely (Dkt 82). None of these
10
      matters help to settle anything but are alleged to have been done to cause further harm,
11

12    harassment and pressure to manipulate proceedings before coming settlement offers and

13    settlement conferences. This is alarming as it follows a solid pattern of abuse and bullying which
14
      has long been a concern of the way Riot Games conduct business. How can a company acting
15
      like this be safe, given their history of top-down systemic abuse, control of data and their links to
16
      Military-civil fusion. No wonder their influence is well known to foster an aggressive,
17

18    retaliatory, toxic community and culture, harmful to adolescents and young adults. There is a

19    direct link that needs to be addressed. Riot Games are not just an unhealthy company, they are a
20
      public health concern and a threat to international security.
21

22
                     Mark My Words.
23

24

25

26

27
                                                       7
       PLAINTIFF'S OPPOSITION TO DEFENDANT RIOT GAMES, INC.'S MOTION TO DISMISS THE SECOND
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1                    These filings signal not an intent to resolve the matter, but to harm, overwhelm,
2
      and further burden the Plaintiff. Riot’s conduct repeats procedural arguments that have already
3
      been considered and set aside by the Court, which has issued multiple orders to move this case
4
      forward (see Dkts 34, 66, and 75).
5

6

7                    Revisiting these issues again—especially after the Court’s clear instructions—is
8
      not only disrespectful to the Court’s time and judgment, but also harmful to the Plaintiff. Riot’s
9
      pattern of evasion, delay, and duplicative litigation tactics is particularly egregious when directed
10
      at a disabled pro se litigant, and may be sanctionable under Rule 11 or 28 U.S.C. § 1927.
11

12

13                   Moreover, Riot’s Motion to Dismiss (Dkt 80) fails to address the actual operative
14
      content of the SAC. It omits central factual allegations, ignores the attached copyright
15
      registration, and makes no serious effort to refute the many structured exhibits illustrating access,
16
      similarity, forensic patterning, and psychological framing. Instead, Riot relies on generalizations,
17

18    tone-policing, and recycled objections that have already been addressed in both party

19    correspondence and prior court orders. This failure to directly engage with the substance of the
20
      SAC renders the motion legally defective under Rule 12(b)(6) and may constitute a violation of
21
      Rule 11(b)(3) and (b)(4), which requires that a motion be based on a reasonable inquiry and
22
      supported by both facts and law.
23

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                                                       8
       PLAINTIFF'S OPPOSITION TO DEFENDANT RIOT GAMES, INC.'S MOTION TO DISMISS THE SECOND
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1                    VII. DEFENDANT’S PROCEDURAL INCONSISTENCIES
2
      DEMONSTRATE BAD FAITH
3
                     Riot’s litigation posture is riddled with contradiction. On December 31, 2024,
4
      Riot's counsel criticized Plaintiff’s original filing as a "short form complaint" and insisted that a
5

6     more detailed complaint be submitted in federal court. Plaintiff complied, producing a detailed

7     SAC supported by structured exhibits, citations, and forensic analysis.
8

9
                     Now Riot seeks dismissal of that very SAC, calling it too long, too complex, and
10
      too detailed. This flip-flop is not just legally contradictory—it reveals strategic gamesmanship
11

12    designed to block Plaintiff’s access to discovery and the merits of his claim. These tactics,

13    viewed against the general abusive history of Riot games, point at a very dark and disturbing
14
      core which needs to be investigated.
15

16
                     Over email, and over court filings, Riot has regurgitated the same issues over and
17

18    over, changing their stance each time, causing harm, harassment and elevating concerns, harm

19    and costs. This isn’t a company trying to litigate. It’s abusers, abusing a disadvantaged person,
20
      which is very clearly at the core of Riot’s operations. When one company is shown to be so
21
      pathologically abusive, and even their beginning is steeped in concerns of IP theft, sabotage and
22
      backed by Military-civil fusion concerns, from the off set, it needs to be shut down for public
23

24    safety. Such tactics should weigh heavily against dismissal and in favor of preserving the

25    Plaintiff’s right to proceed. They should also trigger national concerns.
26

27
                                                        9
       PLAINTIFF'S OPPOSITION TO DEFENDANT RIOT GAMES, INC.'S MOTION TO DISMISS THE SECOND
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1                    VIII. EVIDENCE THAT ARCANE SYSTEMATICALLY BORROWED
2
      FROM BLOODBORG
3
                     Plaintiff has submitted a breadth of exhibits showing that Arcane replicates key
4
      creative elements from Bloodborg: The Harvest. This is not an abstract claim—it is supported
5

6     with detailed evidence, and Riot’s team have had access to additional evidence including:

7

8
                     Exhibits Alpha, Beta, X, Z — side-by-side narrative comparisons;
9

10
                     Exhibit U — thematic and structural motif overlaps;
11

12

13                   Exhibit U2 — statistical modeling proving improbability of independent creation;
14

15
                     Exhibit V — expert memorandum on concealed narrative strategy and symbolic
16
      mimicry;
17

18

19                   Exhibit Y — AI-assisted adaptation theory showing masked transformation of
20
      Bloodborg content.
21

22
                     Except for the final rocket-launcher scene, virtually every critical arc, character
23

24    function, or thematic beat in Arcane traces back to Plaintiff’s copyrighted work.

25

26

27
                                                      10
       PLAINTIFF'S OPPOSITION TO DEFENDANT RIOT GAMES, INC.'S MOTION TO DISMISS THE SECOND
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1                      IX. UNFAIR COMPETITION CLAIM IS NOT PREEMPTED AND
2
      ADDRESSES ONGOING, NON-COPYRIGHT ABUSE
3
                       Riot incorrectly argues that Plaintiff’s §17200 unfair competition claim is
4
      preempted. This is false.
5

6

7                      The SAC and supporting materials make clear that Plaintiff’s UCL claim includes
8
      conduct that is wholly independent of copyright infringement:
9
                       Psychological gaslighting and retaliatory abuse;
10
                       Suppression of authorship through public narrative manipulation;
11

12                     Financial abuse through litigation overreach;

13                     Misuse of power over minors and vulnerable collaborators via Riot’s agent
14
      relationships;
15
                       Misrepresentation of origin, authorship, and timeline of Arcane.
16
                       Blacklisting and wider IP infringement concerns linked to Agents who had a
17

18    monopoly over talent selected for Arcane.

19                     During proceedings, the plaintiff can’t write or create, this is further harm.
20

21
                       This misconduct continues today and is supported by Exhibits Beta, U, V, AA,
22
      and Z. Such claims are not preempted under Ninth Circuit law and involve distinct business torts
23

24    and public interest violations.

25

26

27
                                                        11
       PLAINTIFF'S OPPOSITION TO DEFENDANT RIOT GAMES, INC.'S MOTION TO DISMISS THE SECOND
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1                    X. DEFENDANT'S CHARACTERIZATION OF PLAINTIFF’S CLAIMS
2
      AS “CONSPIRATORIAL” IS BASELESS, HARASSING, AND DISCRIMINATORY
3

4
                     Riot’s attempt to label the SAC “conspiratorial” is both offensive and strategically
5

6     misleading. Riot is attempting to lean into the Plaintiff’s disability. CONSPIRATORIAL is a

7     continuation of the patten of retaliation, targeting, name calling, and harassment.
8

9
                     Plaintiff has professional credentials in identifying concealed material and hidden
10
      messaging from his service in the British Army. These qualifications will be submitted under
11

12    seal (see forthcoming Exhibit FF). The analysis in the SAC is based on established investigative

13    technique—not speculation.
14

15
                     Moreover, Plaintiff has been the target of ongoing psychological abuse and
16
      harassment during this litigation, including impersonations, discrimination, criminal threats,
17

18    bomb threats, doxxing, and child exploitation blackmail (see Exhibit BB: Chronology of

19    Harassment and Threats). These actions are not isolated—they correspond directly with key
20
      filings and deadlines in the case, with some being traceable, suggesting insider knowledge or
21
      coordinated pressure. Some can be linked directly to Fortiche, Goblin Studios Paris, and Riot
22
      Games. Moreover, it can be shown that whenever the Plaintiff mentioned CBG to Riot’s legal
23

24    team, his site would be visited by North London based entities, of which are under suspicion of

25    wider systematic infringements of the M.W. Wolf catalogue of Fiction.
26

27
                                                     12
       PLAINTIFF'S OPPOSITION TO DEFENDANT RIOT GAMES, INC.'S MOTION TO DISMISS THE SECOND
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1                     Such misconduct weaponizes Plaintiff’s mental health and trauma history to
2
      silence his claims. This is discriminatory, cruel, and consistent with Riot’s institutional history of
3
      exploiting vulnerable individuals—seen in their $100 million discrimination settlement, CEO
4
      scandal, layoffs, sexual harassment allegations, many IP stealing and infringement concerns,
5

6     retaliations and threats, illegal NDA’s, targeting of a young Ukrainian girl for using the word

7     “Arcane” , data concerns, Ai misuse concerns, stealing fan art, spurious IP wars, misuse of tax
8
      breaks in three countries to make Arcane, loot box gambling concerns, alleged sabotage and
9
      stealing of a rival US based companies and public modders efforts, misuse of minors working for
10
      them in none-sexual grooming concerns, Military-civil fusion concerns, control of public
11

12    information and sites about them, the toxic “Bromancing” culture, the toxic “Incel” community,

13    the shuttering of Riot Forge, grooming of selected content creators, backdating of data and
14
      evidence including back paying, falsifying timelines, monetary blackmailing to lie about
15
      timelines and CVs and lies about Arcane script completion dates.
16
                      Given all of this, how can Riot Games be trusted to operate safely in the US, let
17

18    alone be honest during discovery? The Plaintiff cannot get justice without court, CIA and

19    Government oversight into their behaviors. It is alleged that Riot Games poses a public risk and a
20
      risk to the Plaintiff.
21

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                                                      13
       PLAINTIFF'S OPPOSITION TO DEFENDANT RIOT GAMES, INC.'S MOTION TO DISMISS THE SECOND
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1                    XI. ONGOING AVOIDANCE OF COURT DEADLINES AND
2
      DISCOVERY OBLIGATIONS
3

4
                     The Court extended the deadline for Riot to respond to the Second Amended
5

6     Complaint from March 7, 2025, to April 4, 2025 (Dkt 63). Riot failed to submit a valid response.

7     Instead, it re-raised arguments that have already been addressed by both Plaintiff and the Court
8
      in multiple prior filings. The Plaintiff submits that this is not a legitimate Rule 12(b)(6) response
9
      but an attempt to evade the core factual allegations. Any formal denial Riot might offer would
10
      risk exposing clear factual inconsistencies and potentially fraudulent representations.
11

12

13                   Riot Games also has until April 11, 2025, to respond to Plaintiff’s formal
14
      settlement offer (as ordered in Dkt 75). Plaintiff believes that Riot’s latest filings (Dkts 80, 81,
15
      and 82) were strategically timed to clog the docket, exhaust a disabled Plaintiff, and exert
16
      psychological pressure just before the scheduled settlement exchange. This conduct, if
17

18    intentional, may cross the threshold into harassment and retaliation.

19

20
                     Furthermore, Riot’s first set of discovery responses are due on April 15, 2025.
21
      Plaintiff asserts that Dkts 80–82 were not filed in good faith but were instead designed to
22
      circumvent discovery obligations. This includes avoiding the production of documents,
23

24    metadata, and internal communications that may reveal manipulation, unlawful adaptation, or

25    coordinated misconduct.
26

27
                                                       14
       PLAINTIFF'S OPPOSITION TO DEFENDANT RIOT GAMES, INC.'S MOTION TO DISMISS THE SECOND
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1                    Given these continuing abuses, the Plaintiff respectfully suggests that judicial
2
      oversight be expanded, and—where appropriate—external governing bodies or investigatory
3
      authorities be notified. The scope of this alleged infringement spans industries and global
4
      platforms. It raises serious public interest and safety concerns regarding not only intellectual
5

6     property theft, but the misuse of vulnerable individuals and systemic abuse of process.

7

8
                     CONCLUSION
9
                     For all the above reasons, Plaintiff respectfully requests the Court DENY Riot
10
      Games' Motion to Dismiss the SAC in its entirety. Plaintiff is entitled to discovery and a fair
11

12    opportunity to present the evidence of infringement before a jury.

13

14
                     Moreover, the Plaintiff believes that it is in the public interest and safety that
15
      governing bodies are introduced into proceedings given the wider concerns, and the expansion
16
      and other industries around the world these infringements have allowed Riot Games to enter.
17

18    Other industries, countries and Governments doing business with Riot Games maybe at harm,

19    including, France, The Uk, Spain, Vietnam and Others.
20

21

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       PLAINTIFF'S OPPOSITION TO DEFENDANT RIOT GAMES, INC.'S MOTION TO DISMISS THE SECOND
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1
                    Appendix A – Plaintiff’s Exhibit List
2

3                   The following exhibits are submitted in support of Plaintiff’s Opposition to

4     Defendant’s Motion to Dismiss and referenced throughout the SAC and this filing.
5

6
                    Exhibit        Title
7
                    T      Music Video Prologue: Mel’s Story – Thematic and Narrative Comparison
8

9                   U      Counterarguments Against Independent Creation

10                  U2     Statistical Report: Probability Analysis Supporting Exhibit U
11
                    V      Memorandum on the Use of Subtle References in Copyright Infringement
12
                    W      Detailed Breakdown and Analysis of Episode 5
13
                    X      Detailed Breakdown and Analysis of Episode 6
14

15                  Y      AI-Assisted Adaptation of Bloodborg into Arcane

16                  Z      Detailed Breakdown and Analysis of Episode 7
17
                    Alpha Detailed Breakdown and Analysis of Episode 8
18
                    Beta   Detailed Breakdown and Analysis of Episode 9
19
                    AA     April 4, 2025 Settlement Correspondence from Plaintiff
20

21                  BB     Chronology of Harassment, Threats, and Intimidation

22                  FF (Sealed)    Military Credentials – Expertise in Hidden Content Analysis (Filed
23
      Under Seal)
24

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                                                   16
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1     Declaration
2
                     I declare under penalty of perjury under the laws of the United States that the
3
      foregoing is true and correct.
4

5

6                    Executed on April 06, 2025, in Coventry, England.

7                    Respectfully submitted,
8

9
                     Signature:
10

11

12                   Marc Wolstenholme

13                   Plaintiff in Pro Per
14
                     5 Shetland Close
15
                     Coventry, England CV5 7LS
16
                     marc@mwwolf-fiction.co.uk
17

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       PLAINTIFF'S OPPOSITION TO DEFENDANT RIOT GAMES, INC.'S MOTION TO DISMISS THE SECOND
28                                          AMENDED COMPLAINT (SAC)
